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                   IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               RALEIGH DIVISION

 IN RE:                           )
                                  ) Case No. 22-00101-5-DMW
     STEPHEN BRADLEY HALFERTY,    )
                                  )
     Debtor.                      )
                                  )
 EVER-SEAL, INC.,                 )
                                  )
     Plaintiff/Counter-Defendant, )
                                  ) Adv. Proc. No. 22-00050-5-DMW
 v.
                                  )
 STEPHEN BRADLEY HALFERTY, d/b/a) JURY DEMAND
 DURASEAL,                        )
                                  )
     Defendant/Counter-Claimant.  )


            PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

        Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Rule 7056 of the Federal

 Rules of Bankruptcy Procedure, Plaintiff Ever-Seal, Inc. moves for partial summary judgment in

 its favor. In support of this motion, Ever-Seal shows the Court the following:

    1. Defendant Stephen Bradley Halferty previously worked for Ever-Seal as a salesperson and

        sales manager.

    2. While working for Ever-Seal, Halferty formed a competing company and began to compete

        directly against Ever-Seal. He continues to do so.

    3. There is no genuine dispute that Halferty breached a contract with Ever-Seal.

    4. There is no genuine dispute that Halferty intentionally interfered with business

        relationships.

    5. There is no genuine dispute that Halferty cannot prevail on his purported counterclaim.

    6. Judgment of liability should be entered in favor of Ever-Seal and against Halferty,
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    7. Ever-Seal further relies on the memorandum submitted contemporaneously herewith.

        WHEREFORE, Ever-Seal respectfully requests that this motion for partial summary

 judgment be granted, that judgment be entered in favor of Ever-Seal, Inc. and against Halferty as

 set forth above, and that the amount of Ever-Seal’s damages be set for trial along with Ever-Seal’s

 remaining claims.

        Respectfully submitted this 21st day of April, 2023.

                                              FOX ROTHSCHILD LLP

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